     Case: 1:21-cv-02869 Document #: 13 Filed: 08/17/21 Page 1 of 1 PageID #:39

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Ahzar Saiyed
                                  Plaintiff,
v.                                                    Case No.: 1:21−cv−02869
                                                      Honorable Robert M. Dow Jr.
United States of America
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 17, 2021:


        MINUTE entry before the Honorable Robert M. Dow, Jr: In an order entered today
on the docket of Case No. 20cv5524, this case has been consolidated with Case No.
20cv5524 for all purposes with a consolidated amended complaint to be filed in due
course. Accordingly, this case is administratively terminated. Civil case terminated.
Emailed notice(cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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